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                                                  U.S. Department of Justice

                                                  United States Attorney

                                                  Eastern District of Pennsylvania
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                                                  September 21, 2021


HONORABLE R. BARCLAY SURRICK
Judge, United States District Court
8614 United States Courthouse
601 Market Street
Philadelphia, Pennsylvania 19106-1744

         RE:       U.S. v Lore-Elisabeth Blumenthal
                   Criminal No. 20-CR-233

Dear Judge Surrick:

       The Government does not object to the trial in the above-mentioned matter being
continued.

         If you have any questions, please let me know.


                                                      Very truly yours,

                                                      Jennifer Arbittier Williams
                                                      Acting, United States Attorney



                                                      /s Amanda R. Reinitz
                                                      Amanda R. Reinitz
                                                      Assistant United States Attorney
